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 1
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 3
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     stephanieadraktas@att.net
 5   Attorney for Defendant
 6
                                    UNITED STATES DISTRICT COURT
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES,                                      Case No. 2:07-cr-00096-KJM
 9
                      Plaintiff,
10

     vs.                                                 STIPULATION AND ORDER EXTENDING
11
                                                         TIME TO FILE VERIFIED RELEASE PLAN
12   MARK ANDERSON,
13
                     Defendant
14
           The parties, by and through counsel, have conferred and respectfully request that the Court
15

16   approve the defendant’s request for a two-week extension of time to file a renewed verified

17   release plan in connection with his renewed motion for compassionate release.
18
               Defendant’s Statement of Basis for Defendant’s Request
19
               On August 22, 2022, this Court issued a minute order directing the defendant to file a
20
     renewed verified release plan within seven days. Mr. Anderson suffers from several serious
21

22   medical conditions including congestive heart failure, chronic pain from a severe back injury

23   sustained in a train accident and kidney disease. Mr. Anderson has worked with a social worker,
24
     Maureen Paley, who has identified a Board and Care placement for him as well as other services.
25
     However, because substantial time has passed since the motion was filed, she must re-contact the
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27
     STIPULATION AND ORDER EXTENDING TIME TO FILE VERIFIED RELEASE PLAN - 1
28
           Case 2:07-cr-00096-KJM-EFB Document 324 Filed 08/26/22 Page 2 of 3


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     service providers, Mr. Anderson’s case manager at Terminal Island and others to verify that Mr.
 2
     Anderson would have a verified residence and the resources that he needs upon release.
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 4          That work will require substantial time. Ms. Paley estimated that it would take

 5   approximately 12 hours to do the necessary work and verifications. Also, Ms. Paley has a pre-
 6
     planned vacation for one week beginning on Saturday August 27, 2023. Accordingly, Mr.
 7
     Anderson respectfully requests a two-week extension of time to September 12, 2022, to provide
 8
     an updated and verified release plan for Mr. Anderson.
 9

10          On August 23, 2022, counsel for Mr. Anderson conferred by email with Assistant United

11   States Attorney Mr. Samuel Stefanki. Mr. Stefanki stated “The government does not object to a
12
     two-week extension of time to prepare a release plan in this case.”
13
            Defendant’s Unopposed Request
14
        The defendant must submit a new verified release plan in connection with his Motion for
15

16   Compassionate Release no later than September 12, 2022.

17   IT IS SO STIPULATED
18
     Dated August 23, 2022.
19
                                          Respectfully Submitted,
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                                          /s /STEPHANIE M. ADRAKTAS
21
                                          State Bar #215323
22                                        Counsel for Defendant
                                          Mark Anderson
23
                                          PHILLIP A. TALBERT
24
                                          United States Attorney
25                                        /s/ SAMUEL STEFANKI
                                          Assistant United States Attorney
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     STIPULATION AND ORDER EXTENDING TIME TO FILE VERIFIED RELEASE PLAN - 2
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           Case 2:07-cr-00096-KJM-EFB Document 324 Filed 08/26/22 Page 3 of 3


 1
                                                ORDER
 2
            Based on the stipulation of the parties above, IT IS HEREBY ORDERED that the
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 4   defendant’s proposed verified release plan is due by or before September 12, 2022.

 5          IT IS SO ORDERED.
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     DATED: August 25, 2022.
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     STIPULATION AND ORDER EXTENDING TIME TO FILE VERIFIED RELEASE PLAN - 3
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